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12
                       IN THE UNITED STATES DISTRICT COURT
13
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                          WESTERN DIVISION – LOS ANGELES
15
     PLAYBOY ENTERTAINMENT GROUP             Case No. 2:17-cv-08140-FMO (PLA)
16   INC., a Delaware Corporation,
                                             DEFENDANT HAPPY MUTANTS
17                                           LLC’S REPLY IN SUPPORT OF ITS
                           Plaintiff,        MOTION TO DISMISS PLAINTIFF
18                                           PLAYBOY ENTERTAINMENT
          v.                                 GROUP INC.’S FIRST AMENDED
19                                           COMPLAINT
   HAPPY MUTANTS, LLC, a Delaware
20 limited liability company, and DOES 1     Date: February 15, 2018
                                             Time: 10:00 a.m.
21 through 10,                               Ctrm: 6D, W. 1st Street Courthouse
                                             Judge: Honorable Fernando M. Olguin
22                         Defendants.
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 1   I.    INTRODUCTION
 2         Playboy claims this is an important case. It is partially correct: if the Court allows
 3   this case to go forward, it will send a dangerous message to everyone engaged in ordinary
 4   online commentary. Links do exactly what you might expect: they connect the reader to
 5   a piece of material that a second person wants to comment on or simply call to attention.
 6   As part of the original design of the Internet hypertext medium, linking dramatically
 7   enhances users’ ability to acquire and share information and ideas. It is an essential form
 8   of Internet communication. As the Supreme Court explained in Reno v. American Civil
 9   Liberties Union, 521 U.S. 844 (1997), the Internet democratizes access to speech by
10   allowing every user to speak to—and be heard by—every other connected user:
11                Through the use of chat rooms, any person with a phone line can
12                become a town crier with a voice that resonates farther than it
13                could from any soapbox. Through the use of Web pages, mail
14                exploders, and newsgroups, the same individual can become a
15                pamphleteer.
16   Id. at 870. Links to primary source materials posted by third parties can make those
17   “pamphlets” much more powerful because they let the reader form his or her own opinion
18   about the author’s commentary. Playboy, however, would apparently prefer a world in
19   which the “pamphleteer” must ask for permission before linking to primary sources, on
20   pain of expensive litigation.
21         If this case goes forward and Playboy succeeds, it could create that world. Playboy
22   seeks to use this case to upend more than a decade of law and the settled expectations of
23   the online community. Indeed, it need not actually win the case to accomplish that goal.
24   This case merely has to survive a motion to dismiss to launch a thousand more expensive
25   lawsuits, chilling a broad variety of lawful expression and reporting that merely adopts the
26   common practice of linking to the material that is the subject of the report.
27         But this case should not go forward—at least as to Boing Boing, a well-established
28   source of news and commentary that has been cited more than 2,300 times in peer-
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 1   reviewed scholarly research, 1 as well as numerous other publications such as the Los
 2   Angeles Times (which once called Boing Boing “by many measures the most-read blog on
 3   the Internet”) 2 and the New York Times (which credited Boing Boing for breaking the
 4   news that then-candidate Donald Trump’s father had been arrested at a Ku Klux Klan
 5   rally in 1927). 3 Settled precedent requires dismissal, both because Boing Boing did not
 6   induce or materially contribute to any copyright infringement and, in the alternative,
 7   because Boing Boing engaged in fair use.
 8           As a matter of law, not to mention sound policy, the Court should follow
 9   established precedent in this Circuit, and Judge Walter’s sound analysis in the virtually
10   identical Tarantino case, and dismiss this case with prejudice.
11   II.     ARGUMENT
12           In the Opposition, Playboy has clarified its theory of liability: Playboy asserts that
13   Boing Boing is liable for its “manifestation of support or appreciation for an existing
14   infringement,” Opp’n at 8 n.9, ECF No. 22-1, and that “Playboy has identified the
15   underlying act of direct infringement—the unauthorized posting of Playboy’s work on
16   Imgur and YouTube by the third parties Happy Mutant subsequently celebrated and
17   encouraged.” Id. at 9. There are four fatal problems with this theory. The first, discussed
18   in Part II-A below, is that nothing Boing Boing did caused or resulted in “the
19   unauthorized posting of Playboy’s work on Imgur and YouTube.” Id. The second,
20   discussed in Part II-B below, is that it is unsupported by the Perfect 10 v. Amazon.com
21   case on which Playboy relies—since that case dealt with copying, rather than mere
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 1   viewing. The third, discussed in Part II-C below, is that the link at issue had substantial
 2   non-infringing uses, and thus its distribution does not support liability on a material-
 3   contribution theory. The fourth, discussed in Part II-D, is that Boing Boing’s conduct in
 4   drafting its post and linking to the third-party materials accused of infringement
 5   constituted fair use, since it was for purposes of criticism, commentary, and news
 6   reporting. As discussed in Part II-E below, these four fatal problems cannot be cured by
 7   amendment, and mean that dismissal should be with prejudice as to Boing Boing.
 8         A.     Nothing Boing Boing did caused or resulted in any direct infringement.
 9         In the Motion, Boing Boing argued that Playboy had not identified any act of direct
10   infringement that Boing Boing was alleged to have induced or to which Boing Boing was
11   alleged to have materially contributed. Playboy concedes that Boing Boing “visitors do
12   not commit an act of direct infringement by merely viewing the linked-to content.” Opp’n
13   at 11, ECF No. 22-1. Instead, Playboy argues that “Playboy has identified the underlying
14   act of direct infringement—the unauthorized posting of Playboy’s work on Imgur and
15   YouTube by the third parties Happy Mutant subsequently celebrated and encouraged.”
16   Id. at 9 (emphasis added). The question is now crisply teed up: can a party be liable for
17   copyright infringement on an inducement or material-contribution theory if all of their
18   relevant actions took place subsequent to the underlying act of direct infringement? As
19   discussed below, the answer is “no” as a matter of law.
20                1.     Inducement liability requires causation.
21         The Supreme Court announced the test for inducement liability in Metro-Goldwyn-
22   Mayer Studios Inc. v. Grokster, Ltd.: “We hold that one who distributes a device with the
23   object of promoting its use to infringe copyright, as shown by clear expression or other
24   affirmative steps taken to foster infringement, is liable for the resulting acts of
25   infringement by third parties.” 545 U.S. 913, 919 (2005) (emphasis added). In order for
26   there to have been “resulting” acts of underlying direct infringement by third parties, there
27   must be a causal chain leading from an action by the defendant to that underlying
28   infringement. That is why the Ninth Circuit, in discussing the Grokster inducement
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 1   liability standard, held that it includes “causation” as one of its “four elements.”
 2   Columbia Pictures Indus., Inc. v. Fung, 710 F.3d 1020, 1032 (9th Cir. 2013). 4
 3         That “causation” element, as discussed by the Ninth Circuit, is causation “in a ‘but-
 4   for’ sense,” and requires that a plaintiff “show a sufficient causal connection between” the
 5   underlying direct infringement and the activities of the defendant. Id. at 1038, 1039. The
 6   question, according to the Ninth Circuit, is “the degree to which [the defendant] can be
 7   held liable for having caused infringements by [third-party direct infringers].” Id. at
 8   1039 (emphasis added). This formulation has been applied by district courts in assessing
 9   the causation element of inducement liability. See, e.g., China Cent. Television v. Create
10   New Tech. (HK) Ltd., No. CV 15-01869 MMM (MRWx), 2015 WL 3649187, at *10
11   (C.D. Cal. June 11, 2015) (finding the causation element met where “defendants are the
12   but-for cause of [the direct] infringement”).
13         Playboy argues that, in the context of inducement liability, “‘causation’ does not
14   mean causing further infringement.” Opp’n at 8 n.9, ECF No. 22-1. “Rather,” Playboy
15   argues, “it refers to either inducing or encouraging further infringement (the second of
16   which does not necessarily cause any new infringement, but may simply cause a
17   manifestation of support or appreciation for an existing infringement).” Id. This view
18   reads the causation element out entirely, and finds no support in any of the inducement
19   case law.
20         Playboy seizes on the statement in Grokster that “[o]ne infringes contributorily by
21   intentionally inducing or encouraging direct infringement,” 545 U.S. at 930, in support of
22   its argument that inducement liability can be supported by a showing of after-the-fact
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     We focus on the causation element because the facts pleaded in the First Amended
25 Complaint (“FAC”) make clear that there was no causal connection between anything
26 Boing Boing did and the direct infringement at issue. This is not to say that we concede
   the presence of the other three elements—only that causation is the element that most
27 cleanly resolves this claim at the pleadings stage, based on the allegations of the FAC.

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 1   appreciation rather than a showing of inducement. But Grokster does not stand for that
 2   proposition. The word “encouraging” in that sentence does not refer to after-the-fact
 3   appreciation, but instead to before-the-fact encouragement of later direct infringement.
 4   Indeed, the Supreme Court specifically discussed what it meant by “encouraging” in this
 5   context:
 6                Evidence of “active steps ... taken to encourage direct
 7                infringement,” Oak Industries, Inc. v. Zenith Electronics
 8                Corp., 697 F.Supp. 988, 992 (N.D.Ill.1988), such as advertising
 9                an infringing use or instructing how to engage in an infringing
10                use, show an affirmative intent that the product be used to
11                infringe, and a showing that infringement was encouraged
12                overcomes the law’s reluctance to find liability when a
13                defendant merely sells a commercial product suitable for some
14                lawful use, see, e.g., Water Technologies Corp. v. Calco,
15                Ltd., 850 F.2d 660, 668 (C.A.Fed.1988) (liability for inducement
16                where one “actively and knowingly aid [s] and abet[s] another’s
17                direct infringement” (emphasis deleted)); Fromberg, Inc. v.
18                Thornhill, 315 F.2d 407, 412–413 (C.A.5 1963) (demonstrations
19                by sales staff of infringing uses supported liability for
20                inducement); Haworth Inc. v. Herman Miller Inc., 37
21                U.S.P.Q.2d 1080, 1090, 1994 WL 875931 (W.D. Mich. 1994)
22                (evidence that defendant “demonstrate[d] and recommend[ed]
23                infringing configurations” of its product could support
24                inducement liability); Sims v. Mack Trucks, Inc., 459 F.Supp.
25                1198, 1215 (E.D. Pa. 1978) (finding inducement where the use
26                “depicted by the defendant in its promotional film and brochures
27                infringes the ... patent”), overruled on other grounds, 608 F.2d
28                87 (C.A.3 1979).
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 1   Grokster, 545 U.S. at 936 (emphasis added). Each of these examples—taken by the
 2   Supreme Court from patent law—reflects more than after-the-fact appreciation for an
 3   earlier act of direct infringement; instead, they reflect before-the-fact encouragement of
 4   further infringement in the future.
 5         Playboy’s “appreciation of infringement” theory would produce remarkable, even
 6   outrageous results. Saying “I’m glad Alan Cranston infringed the copyright in Mein
 7   Kampf to warn us about Hitler” would now be an act of retroactive copyright
 8   infringement. 5 Indeed, if Playboy were correct, and the mere “manifestation of support or
 9   appreciation for an existing infringement” could give rise to liability, Opp’n at 8 n.9, ECF
10   No. 22-1, such an application would run afoul of the First Amendment. Ashcroft v. Free
11   Speech Coal., 535 U.S. 234, 253 (2002) (“The government may suppress speech for
12   advocating the use of force or a violation of law only if ‘such advocacy is directed to
13   inciting or producing imminent lawless action and is likely to incite or produce such
14   action.’”) (quoting Brandenburg v. Ohio, 395 U.S. 444, 447 (1969) (per curiam)); id.
15   (“The mere tendency of speech to encourage unlawful acts is not a sufficient reason for
16   banning it.”).
17         Here, the only relationship alleged between “the underlying act of direct
18   infringement—the unauthorized posting of Playboy’s work on Imgur and YouTube”—and
19   Boing Boing is the allegation that, after that act of direct infringement had already
20   occurred, Boing Boing “subsequently celebrated and encouraged” that past act through a
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       Cranston—then a journalist, later a United States Senator—prepared an unauthorized
23   translation of portions of Mein Kampf after finding that the translation licensed by Hitler’s
24   German publisher left out those portions, which showed Hitler’s plan for the world.
     Anthony O. Miller, Court Halted Dime Edition of ‘Mein Kampf’: Cranston Tells How
25   Hitler Sued Him and Won, L.A. Times (Feb. 14, 1988), at
26   http://articles.latimes.com/1988-02-14/news/mn-42699_1_mein-kampf. Cranston’s
     publication was found to infringe Hitler’s copyright and was enjoined. Houghton Mifflin
27   Co. v. Noram Pub. Co., 28 F. Supp. 676, 677 (S.D.N.Y. 1939).
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 1   “manifestation of support or appreciation for [that] existing infringement.” Opp’n at 9, 8
 2   n.9, ECF No. 22-1. Boing Boing’s later act cannot have caused those earlier acts of
 3   unauthorized posting. “Causation does not run backwards in time.” Ellison v.
 4   Hawthorne, 548 F. App’x 371, 374 (9th Cir. 2013). And so even if Boing Boing’s post
 5   was a “manifestation of support or appreciation for an existing infringement,” Opp’n at 8
 6   n.9, ECF No. 22-1, it cannot give rise to inducement liability.
 7                2.     Material-contribution liability requires causation.
 8         The result is no different under the material-contribution theory of liability. As
 9   with inducement, a material-contribution claim requires a showing of causation between
10   the defendant’s actions and a third party’s direct infringement. The Ninth Circuit’s
11   formulation of the material-contribution test in Perfect 10 v. Amazon.com makes this
12   clear: “an actor may be contributorily liable for intentionally encouraging direct
13   infringement if the actor knowingly takes steps that are substantially certain to result in
14   such direct infringement.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1171 (9th
15   Cir. 2007) (emphasis added). 6 Obviously, steps can only “result” in a third party’s direct
16   infringement if those steps are a before-the-fact cause of that direct infringement. There is
17   no such allegation here, because “the underlying act of direct infringement—the
18   unauthorized posting of Playboy’s work on Imgur and YouTube”—cannot be the result of
19   later actions by Boing Boing.
20         B.     Perfect 10 v. Amazon.com does not weigh against dismissal.
21         The Ninth Circuit’s decision to remand in Perfect 10 v. Amazon.com does not save
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23   6
       We know that the Ninth Circuit is referring to material-contribution liability when it says
24   “intentionally encouraging direct infringement” because, earlier in the same paragraph,
     the court held that “Google’s activities do not meet the ‘inducement’ test explained in
25   Grokster because Google has not promoted the use of its search engine specifically to
26   infringe copyrights.” 508 F.3d at 1171 n.11. With the inducement theory thus off the
     table, the discussion of “intentionally encouraging” can refer only to the material-
27   contribution theory.
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           DEFENDANT’S REPLY IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF’S
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 1   Playboy’s secondary liability theory. In essence, Playboy argues that if linking couldn’t
 2   lead to liability, the Ninth Circuit would not have needed to remand the contributory-
 3   liability claim for further proceedings and therefore Playboy’s linking claim should also
 4   survive. But as discussed below, while both Playboy and Perfect 10 brought claims based
 5   on linking to photographs of nude women, with respect to secondary liability that is where
 6   the similarities end.
 7         The best guidance, by contrast, may be found just one floor up: Judge Walter’s
 8   opinion in Tarantino v. Gawker Media, LLC, No. CV 14-603-JFW (FFMx), 2014 WL
 9   2434647, at *4 (C.D. Cal. Apr. 22, 2014). Notably, Playboy does not attempt to
10   distinguish that opinion. Instead, Playboy simply states that the result there is
11   “inconsistent with the holding of Perfect 10.” Opp’n at 10 n.10, ECF No. 22-1. But there
12   is no conflict between dismissal in Tarantino and the result in the Perfect 10 case—since
13   Tarantino is different from Perfect 10 in all the ways that this case is different from
14   Perfect 10, as discussed below.
15
                  1.     With respect to inducement, Perfect 10 v. Amazon.com held that
16                       there was no viable inducement theory on its facts.

17         Perfect 10 does not tell us anything about inducement liability (as opposed to
18   material-contribution liability), because the Perfect 10 panel was not addressing
19   inducement liability in its analysis. The Perfect 10 court stated, in a footnote, that
20   “Google’s activities do not meet the ‘inducement’ test explained in Grokster because
21   Google has not promoted the use of its search engine specifically to infringe copyrights.”
22   508 F.3d at 1171 n.11. So Perfect 10 sheds no light on inducement liability.
23
                  2.     With respect to material contribution, Perfect 10 v. Amazon.com is
24                       distinguishable here.

25         The key distinction drawn in Tarantino was that the blogger was encouraging
26   readers to click on a link to view allegedly infringing material—not to download that
27   material. The same is, of course, true here. By contrast, in Perfect 10, the court made
28   repeated reference not just to displaying or viewing, but to three terms that, as the Perfect
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 1   10 court explained, can refer only to downloading, and not merely to viewing:
 2   “distributing” and “reproducing” “copies.” See, e.g., Perfect 10, 508 F.3d at 1169 (“First,
 3   Perfect 10 claims that third-party websites directly infringed its copyright by
 4   reproducing, displaying, and distributing unauthorized copies of Perfect 10’s images.”),
 5   id. at 1170 (“Therefore, we must assess Perfect 10’s arguments that Google is secondarily
 6   liable in light of the direct infringement that is undisputed by the parties: third-party
 7   websites’ reproducing, displaying, and distributing unauthorized copies of Perfect 10’s
 8   images on the Internet.”), id. at 1172 (“There is no dispute that Google substantially
 9   assists websites to distribute their infringing copies to a worldwide market and assists a
10   worldwide audience of users to access infringing materials.”), id. at 1174 (“By contrast,
11   Google cannot stop any of the third-party websites from reproducing, displaying, and
12   distributing unauthorized copies of Perfect 10’s images because that infringing conduct
13   takes place on the third-party websites.”), id. at 1175 (“Google’s failure to change its
14   operations to avoid assisting websites to distribute their infringing content may constitute
15   contributory liability, see supra Section IV.A.”) (emphases added).
16         The Perfect 10 court explained that the Copyright Act grants the exclusive right “to
17   distribute copies or phonorecords of the copyrighted work to the public by sale or other
18   transfer of ownership, or by rental, lease, or lending. 17 U.S.C. § 106(3).” 508 F.3d at
19   1162. It also grants the exclusive right “to reproduce the copyrighted work in copies or
20   phonorecords.” Id. at 1159 n.5 (quoting 17 U.S.C. § 106(1)). “Copies” means “material
21   objects . . . in which a work is fixed . . . .” Id. at 1160 (quoting 17 U.S.C. § 101). Relying
22   on these statutory definitions, the Perfect 10 panel held that “in the electronic context,” a
23   web user can “obtain copies by downloading the photo or printing it.” Id. at 1162. Thus,
24   when the Perfect 10 panel makes reference to “distribution,” it means more than simply
25   viewing the photo; instead, it means downloading or printing a copy of the photo, which
26   (unlike mere viewing) may itself constitute direct infringement.
27         The same is true of the cases citing Perfect 10 v. Amazon.com on which Playboy
28   relies: those cases were careful to characterize the Perfect 10 v. Amazon.com holding as
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 1   one dealing with distribution of copies (that is, downloading or printing), rather than
 2   dealing with a material contribution to later viewing. See Perfect 10, Inc. v. Visa Int’l
 3   Serv. Ass’n, 494 F.3d 788, 796, 797 (9th Cir. 2007) (“the services provided by the credit
 4   card companies do not help locate and are not used to distribute the infringing images”
 5   while “Google’s search engine itself assists in the distribution of infringing content to
 6   internet users”) (emphases added). And it also distinguishes Playboy’s other cited case,
 7   Perfect 10 v. Giganews, Inc., 847 F.3d 657, 669 (9th Cir.), cert. denied, 138 S. Ct. 504
 8   (2017) (emphasis added), in which “users uploaded infringing content onto Giganews
 9   servers,” thereby engaging in an act of reproduction that involved the servers of the
10   defendant.
11         The Perfect 10 court did not address situations like the one here (and the one in
12   Tarantino), where the act being encouraged is not a potentially infringing act of
13   downloading or printing a copy, but instead merely viewing the linked-to content. And,
14   as Playboy agrees, “visitors do not commit an act of direct infringement by merely
15   viewing the linked-to content.” Opp’n at 11, ECF No. 22-1. Thus, Playboy is wrong
16   when it says that Tarantino “and Perfect 10 cannot both be correct.” Id. at 10 n.10. Judge
17   Walter’s carefully-reasoned opinion is entirely consistent with—and, indeed, cites—the
18   Ninth Circuit’s opinion in Perfect 10. There, as here, encouraging users merely to view
19   linked-to content does not give rise to contributory copyright infringement liability.
20         C.     The link in question has substantial non-infringing uses.
21         On pages 7 and 8 of its Opposition, Playboy discusses the “substantial non-
22   infringing use” doctrine, which holds that no intent to aid infringement may be imputed
23   from the defendant’s provision of an instrumentality that aided a third party’s direct
24   infringement, where that instrumentality has “substantial lawful as well as unlawful uses.”
25   Grokster, 545 U.S. at 933; see BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., No.
26   16-1972, 2018 WL 650316, at *12 (4th Cir. Feb. 1, 2018) (“Selling a product with both
27   lawful and unlawful uses suggests an intent to cause infringement only if the seller knows
28   of specific instances of infringement, but not if the seller only generally knows of
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 1   infringement.”). 7 Playboy agrees that what it calls the “offending link” is an
 2   instrumentality provided by Boing Boing that constituted the alleged material contribution
 3   to a third party’s direct infringement—but argues that the link “does nothing more than
 4   support infringing content” and “is good for nothing but promoting infringement,” and
 5   therefore has no substantial non-infringing use. Opp’n at 7, ECF No. 22-1. But those
 6   facts are not only absent from the FAC, they are contradicted by it. As is evident from the
 7   post reproduced in the FAC itself, the link has at least one large, glaring non-infringing
 8   use: for a visitor to click on it and view (and not download or print) the images posted by
 9   a third party on Imgur. Playboy agrees that “visitors do not commit an act of direct
10   infringement by merely viewing the linked-to content.” Id. at 11. Thus, merely viewing
11   the linked-to content is a substantial non-infringing use of the link.
12         And the context for the link provides a further non-infringing use: fair use by the
13   viewer (as opposed to fair use by Boing Boing, discussed below). Consumer fair use of
14   copyrighted materials, aided by an instrumentality provided by the defendant, was
15   precisely the scenario in Sony, the case in which the Supreme Court first announced the
16   substantial non-infringing use doctrine. Sony Corp. of Am. v. Universal City Studios, Inc.,
17   464 U.S. 417, 455-56 (1984) (because “home time-shifting is fair use,” the Betamax was
18   “capable of substantial noninfringing uses”). Boing Boing visitors engaged in fair use
19   when they clicked on the link to “see how our standards of hotness, and the art of
20   commercial erotic photography, have changed over time.” FAC ¶ 14.
21         Thus, even to the extent it is possible that some Boing Boing reader managed to
22

23   7
       Curiously, Playboy situates that discussion in its section on its inducement theory of
24   liability—but the substantial non-infringing use doctrine does not limit claims on an
     inducement theory, only (as Boing Boing stated) where a defendant is accused of “making
25   a material contribution to” a third party’s direct infringement. Mot. at 11; see Grokster,
26   545 U.S. at 935 (“Sony’s staple-article rule will not preclude liability” where the
     defendant has induced infringement through “statements or actions directed to promoting
27   infringement”).
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 1   infringe copyright—by, for example, downloading (rather than viewing) the centerfolds
 2   for purposes of aesthetic enjoyment (rather than to “see how our standards of hotness, and
 3   the art of commercial erotic photography, have changed over time”)—Boing Boing’s link
 4   nonetheless had at least substantial (and indeed overwhelming) non-infringing uses. And
 5   there is certainly no allegation, nor any basis for an allegation, that Boing Boing had
 6   actual knowledge that a particular such reader was engaged in such infringement—and,
 7   further, no allegation that Boing Boing chose to continue providing the link to such a
 8   person “with the knowledge that the [particular reader] will in fact use the [link] to
 9   infringe copyrights.” BMG Rights Mgmt. (US) LLC, 2018 WL 650316, at *9.
10   Accordingly, providing the link does not give rise to an inference or imputation of the
11   “intent to bring about infringement” necessary for a finding of contributory infringement.
12   See Grokster, 545 U.S. at 940. Because the provision of the link is the only fact pleaded
13   in the FAC to support that necessary element of Playboy’s cause of action, this provides
14   an independent ground for dismissal of the FAC.
15         D.     The First Amended Complaint pleads facts sufficient to find that Boing
                  Boing engaged in fair use by linking to the third-party album for
16                purposes of criticism and comment.
17         Playboy’s response on fair use fails for two reasons. First, it disregards settled
18   authority that fair use can be decided on a motion to dismiss. Second, to the extent
19   Playboy’s arguments have any merit, they are misdirected. Playboy confusingly analyzes
20   the fair use factors—such as the portion of work used—as if Boing Boing had uploaded
21   and hosted the centerfolds. But it is uncontested that Boing Boing did not upload the
22   works. Rather, it commented on the works and linked to a third-party site.
23                1.     Fair use may be considered at the pleadings stage.
24         Courts have repeatedly held that fair use may be considered on a motion to dismiss.
25   See City of Inglewood v. Teixeira, No. CV-15-01815 MWF (MRWx), 2015 WL 5025839,
26   at *7 (C.D. Cal. Aug. 20, 2015) (“where appropriate a court may consider a fair use
27   defense on a motion to dismiss”). Rulings on fair use at the pleading stage are common
28   and are appropriate in cases, such as this one, where the relevant facts appear on the face
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 1   of the pleadings and are not in dispute. See Adjmi v. DLT Entm’t Ltd., 14 Civ. 568(LAP),
 2   2015 WL 1499575, at *13 (S.D.N.Y. Mar. 31, 2015); Stern v. Does, 978 F. Supp. 2d
 3   1031, 1051 (C.D. Cal. 2011) (deciding case on summary judgment while noting that it
 4   could “easily could have been resolved on a motion to dismiss”); Savage v. Council on
 5   American-Islamic Relations, Inc., No. C 07-6076 SI, 2008 WL 2951281, at *9 (N.D. Cal.
 6   July 25, 2008) (granting a motion for judgment on the pleadings based on fair use).
 7
                  2.     Boing Boing did not upload or host the centerfolds, and the fair
 8                       use analysis should not proceed as though it had.

 9         Rather than raise disputed facts that might overcome a fair use defense, Playboy
10   misleadingly argues as if Boing Boing had uploaded and hosted the infringing works
11   itself. See Opp’n at 13, ECF No. 22-1 (arguing that “it is clear that every Playboy
12   Playmate ever need not be reproduced.”). But when considering a fair use defense to a
13   claim for secondary liability, courts consider whether the actions of the defendant
14   themselves constitute fair use, separately from the question whether the underlying third-
15   party acts alleged to constitute direct infringement are instead fair use. For example, in
16   the influential early Internet copyright case, Religious Technology Center v. Netcom On-
17   Line Communication Services, Inc., 907 F. Supp. 1361 (N.D. Cal. 1995), the court
18   considered a fair use defense to a contributory infringement claim. The court wrote that
19   the “proper focus here is on whether Netcom’s [the alleged contributory infringer] actions
20   qualify as fair use, not on whether Erlich [the direct infringer] himself engaged in fair use
21   . . . .” Id. at 1378. See also Sega Enters. Ltd. v. MAPHIA, 948 F. Supp. 923, 934 (N.D.
22   Cal. 1996) (finding that a bulletin board operator “may . . . avoid liability if his
23   contributing actions qualify as fair use”).
24         Once the actions of Boing Boing, and not the uploader, are considered, it becomes
25   clear that the post at issue is a fair use. On factor one, the text of the blog post reproduced
26   in the FAC establishes that Boing Boing engaged in the transformative purpose of
27   journalistic commentary. In Online Policy Group v. Diebold, Inc., 337 F. Supp. 2d 1195,
28   1198 (N.D. Cal. 2004), the court considered whether the publisher of an article engaged in
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 1   copyright infringement by linking to an email archive. The court concluded that when the
 2   “on-line newspaper, IndyMedia, published an article criticizing Diebold’s electronic
 3   voting machines and containing a hyperlink to the email archive” the “use was
 4   transformative.” Id. at 1198, 1203.
 5         In an attempt to rebut this straightforward conclusion, Playboy suggests that Boing
 6   Boing’s commentary on the centerfolds was not transformative because Playboy itself
 7   engaged in some similar commentary at some point. See Opp’n at 13, ECF No. 22-1. But
 8   the fact that the copyright owner chose to engage in some commentary of its own (in a
 9   different work, many years after the publication of the original centerfolds) does not make
10   the commentary of others non-transformative. 8 Commentary is a transformative purpose
11   at the heart of fair use. See City of Inglewood, 2015 WL 5025839, at *8; Calkins v.
12   Playboy Enters. Int’l, Inc., 561 F. Supp. 2d 1136, 1141 (E.D. Cal. 2008). There is no
13   requirement that a commentator disagree with the original author for the commentary to
14   be transformative. As the Ninth Circuit has noted, an “allegedly infringing work is
15   typically viewed as transformative as long as new expressive content or message is
16   apparent.” Seltzer v. Green Day, Inc., 725 F.3d 1170, 1177 (9th Cir. 2013). This is true
17   even where “the allegedly infringing work makes few physical changes to the original.”
18   Id. Boing Boing’s reporting and commentary is a classic example of the transformative
19   use protected by copyright’s fair use doctrine.
20         With respect to factor two, Playboy apparently agrees that this factor is “of limited
21   usefulness” in this case; at least, it does not contest it. Opp’n at 13, ECF No. 22-1.
22   Indeed, it is well-settled that factor two is less consequential when a transformative use is
23   being made of an already-published work. See Campbell v. Acuff-Rose Music, Inc., 510
24

25   8
    The absurdity of Playboy’s argument can be illustrated with an example. Suppose a
26 movie studio commissioned a bad review of one of its own movies. Would that then
   make any subsequent bad reviews from third-parties non-transformative and infringing?
27 Of course not. A copyright owner cannot preempt commentary on its works.

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 1   U.S. 569, 586 (1994); Bouchat v. Baltimore Ravens Ltd. P’ship, 737 F.3d 932, 943 (4th
 2   Cir. 2013); Bill Graham Archives v. Dorling Kindersley Ltd., 448 F.3d 605, 612 (2d Cir.
 3   2006).
 4         Regarding factor three, Playboy argues as though Boing Boing was the direct
 5   infringer. See Opp’n at 13, ECF No. 22-1. But it is uncontested that Boing Boing’s post
 6   does not use Playboy’s works on its own site. Rather, it comments on the works and links
 7   to an external site. Playboy’s suggestion that Boing Boing should instead have taken
 8   representative images from each decade addresses a different case. Playboy’s suggestion
 9   would require Boing Boing itself to copy a number of centerfolds. But Boing Boing did
10   not do that precisely because it did not copy any photographs at all.
11         Finally, Playboy’s factor-four argument relies on an allegation contrary to the
12   undisputed content of the post at issue. As it does throughout its opposition, Playboy
13   falsely portrays the post as urging readers to engage in “downloading” of the centerfolds.
14   Id. at 14. This is an invention of Playboy’s counsel. Nothing in the post, set forth in the
15   FAC at paragraph 14, urges readers to click on the link and then take the further step of
16   downloading the images. Moreover, to the extent Boing Boing’s commentary led readers
17   to click on the links and view the externally-hosted content, that did not further copyright
18   infringement. See Flava Works, Inc. v. Gunter, 689 F.3d 754, 757-58 (7th Cir. 2012).
19   Boing Boing did nothing to encourage the uploading of the images (which occurred
20   before its post) and nothing to prevent Playboy from taking steps to have the images
21   removed from Imgur or YouTube (which Playboy successfully did many months before
22   this action was filed). To treat Boing Boing’s commentary as a market substitute
23   conflates its actions with the unnamed third parties alleged to have engaged in direct
24   infringement.
25         As the Supreme Court has noted, fair use affords “considerable latitude for
26   scholarship and comment” and is a “built-in” First Amendment accommodation for
27   copyright. Golan v. Holder, 565 U.S. 302, 329 (2012) (citations omitted). Ending
28   litigation involving fair uses at the pleading stage helps accomplish Section 107’s purpose
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 1   of ensuring that there is adequate breathing space for new creative expression. The facts
 2   pleaded in the FAC, properly considered, compel a finding that Boing Boing’s
 3   commentary was fair use.
 4         E.     Dismissal should be with prejudice as to Boing Boing.
 5         Finally, the Court should reject Playboy’s request for leave to amend so it can
 6   embark on a fishing expedition for new facts. Instead, it should dismiss Boing Boing
 7   from this case with prejudice.
 8         As to Playboy’s first approach (requesting leave to amend—again—after early
 9   discovery), Playboy has ample tools to discover whether anyone actually downloaded the
10   allegedly infringing materials, without forcing Boing Boing to bear the burden of riding
11   along. They can proceed with their claims against the Doe defendants named in the FAC,
12   and then seek to use that process to subpoena the relevant services. Playboy may well
13   have a cause of action against the third parties who uploaded the copyrighted materials to
14   Imgur and YouTube, and nothing prevents them from pursuing that claim. Dismissing
15   Boing Boing with prejudice does not leave Playboy without a remedy; instead, it requires
16   Playboy to pursue the parties who decided to upload Playboy’s copyrighted works, rather
17   than Boing Boing, who merely pointed out that those parties had done so.
18         What is more, Playboy could have long ago taken advantage of the procedures set
19   forth under Section 512(h) of the Digital Millennium Copyright Act. See 17 U.S.C. §
20   512(h)(1) (“A copyright owner or a person authorized to act on the owner’s behalf may
21   request the clerk of any United States district court to issue a subpoena to a service
22   provider for identification of an alleged infringer in accordance with this subsection.”).
23   For whatever reason, it failed to do so. Playboy should not be rewarded (and Boing Boing
24   penalized) for its lack of diligent factual investigation.
25         As for Playboy’s second approach (dismissal without prejudice), it too should be
26   rejected because there is no set of facts that can actually save this case as to Boing Boing.
27   As explained above, Plaintiff’s initial liability theory is fundamentally flawed, since
28   Boing Boing did not aid any direct infringement. And even if the prima facie contributory
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 1   infringement claim were viable, the post was a classic fair use and therefore
 2   noninfringing. “Courts are not required to grant leave to amend if a complaint lacks merit
 3   entirely.” Lopez v. Smith, 203 F.3d 1122, 1129 (9th Cir. 2000); see Luvdarts, LLC v.
 4   AT&T Mobility, LLC, 710 F.3d 1068, 1072 (9th Cir. 2013) (affirming dismissal with
 5   prejudice of a claim of contributory copyright infringement at the pleadings stage). Boing
 6   Boing should not bear the burden of being dragged back into court to make these same
 7   arguments again, no matter what facts Plaintiff unearths about the conduct that third
 8   parties chose to undertake.
 9          Playboy had a chance to clean up its initial Complaint, and it presumably did its
10   best to assert facts sufficient to state a claim in the FAC. Instead, it offered facts that were
11   more than sufficient to disprove its own case. It should not get a third bite at the apple.
12   III.   CONCLUSION
13          Linking to materials posted by third parties on the Internet so that others may view
14   them does not, as a matter of law, support a claim for contributory copyright
15   infringement—particularly where, as here, that link is made in the context of criticism and
16   commentary on the materials being linked to. All claims against Boing Boing in the First
17   Amended Complaint should be dismissed with prejudice.
18

19   Dated: February 1, 2018                      DURIE TANGRI LLP
20
21                                          By:                  /s/ Joseph C. Gratz
                                                                JOSEPH C. GRATZ
22
                                                  Attorneys for Defendant
23
                                                  HAPPY MUTANTS, LLC
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 1                                 CERTIFICATE OF SERVICE
 2         I hereby certify that on February 1, 2018 the within document was filed with the
 3   Clerk of the Court using CM/ECF which will send notification of such filing to the
 4   attorneys of record in this case.
 5

 6
                                                           /s/ Joseph C. Gratz
                                                          JOSEPH C. GRATZ
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